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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION



        UNITED STATES OF AMERICA               )
                                               )               Case: 4:22-CR-219-DPM
                                  Plaintiff(s) )
                     v.                        )
                                               )
           Byrannia Monique Burks              )
     ____________________________              )
                                 Defendant(s) )



                                 NOTICE OF APPEARANCE

        Please take notice that Christopher H. Baker of the James Law Firm will be aiding as co-

counsel in the representation of Byrannia Monique Burks in the case captioned above and

requests that he be included on the service of all notices, pleadings, and other documents filed in

this case.

 Dated: January 8, 2023                            Respectfully submitted,

                                                   /s/ Christopher H. Baker

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